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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION



     VIDEOSHARE, LLC,                             §
                                                  §
               Plaintiff,                         §
                                                  §       Civil Action No.: 6:21-cv-00254-ADA
                     v.                           §
                                                  §       JURY TRIAL DEMANDED
      META PLATFORMS, INC.,                       §
                                                  §
               Defendant.                         §


  DEFENDANT’S ANSWER TO PLAINTIFF’S SECOND AMENDED COMPLAINT
                   FOR PATENT INFRINGEMENT

       Defendant Meta Platforms, Inc. (“Defendant” or “Meta”) hereby files its answer to

Plaintiff VideoShare, LLC’s (“Plaintiff” or “VideoShare”) Second Amended Complaint for

Patent Infringement (Dkt. No. 70, “Second Amended Complaint”) as follows. Each of the

paragraphs below corresponds to the same numbered paragraph in the Second Amended

Complaint. In responding to the Second Amended Complaint, Defendant has kept Plaintiff’s

headings for ease of reference, but in doing so, Defendant is not admitting to the accuracy of

any statements made or agreeing with any characterizations made in such headings. Defendant

denies all allegations in the Second Amended Complaint, whether express or implied, that are

not specifically admitted below. Defendant further denies that Plaintiff is entitled to the relief

requested in the Second Amended Complaint, or to any other relief.

                                          I.    PARTIES

       1.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in Paragraph 1, and therefore denies them.




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       2.      Defendant admits that it is a company organized under the laws of Delaware

with a physical address at 300 West 6th Street, Austin, Texas 78701 and a principal place of

business at 1601 Willow Road, Menlo Park, California 94025.

                                      II.     JURISDICTION

       3.      The allegations in this Paragraph state a legal conclusion to which no response is

required. To the extent a response is deemed to be required, Defendant admits that this is a civil

action for infringement under the patent laws of the United States of America, 35 U.SC. § 1 et

seq. Defendant admits that this Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1331 and 1338(a), provided that standing and other requirements are met. Except

as expressly admitted herein, Defendant denies the allegations of Paragraph 3.

       4.      The allegations in this Paragraph state a legal conclusion to which no response is

required. To the extent a response is deemed to be required, Defendant does not contest

personal jurisdiction for purposes of this action. Except as expressly admitted herein,

Defendant denies the allegations of Paragraph 4.

       5.      Defendant denies the allegations in Paragraph 5.

       6.      Defendant denies the allegations in Paragraph 6.

                                            III.   VENUE

       7.      Defendant denies the allegations in Paragraph 7.

       8.      Defendant admits that it has offices in various locations in the United States,

including at the location identified in Paragraph 8. Except as expressly admitted herein,

Defendant denies the allegations in Paragraph 8.

                                IV.     THE PATENT-IN-SUIT

       9.      Defendant admits that U.S. Patent No. 10,362,341 (“the ’341 Patent”) is entitled




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“Systems and methods for sharing video with advertisements over a network” and states on its

face that it issued on July 23, 2019. Defendant admits that what purports to be a copy of the

’341 Patent was attached as Exhibit A to the Second Amended Complaint. Defendant lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in Paragraph 9, and on that basis, denies them.

       10.     Defendant admits that the ’341 Patent states on its face that it was filed on

January 23, 2019 and purports to claim priority to U.S. Provisional Application No.

60/147,029, filed on August 3, 1999. Defendant admits that the ’341 Patent purports to be a

continuation of U.S. Patent Application No. 15/618,304, filed on June 9, 2017 and now U.S.

Patent No. 10,225,584, which purports to be a continuation of U.S. Patent Application No.

15/094,411, filed on April 8, 2016, which purports to be a continuation of U.S. Patent

Application No. 14/597,491, filed on January 15, 2015, which purports to be a continuation of

U.S. Patent Application No. 13/909,876, filed on June 4, 2013 and now U.S. Patent No.

8,966,522, which purports to be a continuation of U.S. Patent Application No. 09/631,583, filed

on August 3, 2000 and now U.S. Patent No. 8,464,302, which purports to be a continuation-in-

part of U.S. Patent Application No. 09/497,587, filed on February 3, 2000, which purports to

claim priority to Provisional Patent Application No. 60/147,029. Defendant denies that the

priority date for the ’341 Patent is August 3, 1999. Except as expressly admitted herein,

Defendant denies the allegations in Paragraph 10.

       11.     Defendant denies that the ’341 Patent is valid and enforceable.

       12.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 12, and on that basis, denies them.




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       13.      Defendant denies that it needs a license to the ’341 Patent, and on that basis,

denies the allegations in Paragraph 13.

       A. Background of the ’341 Patent.

       14.      Defendant admits that Gad Liwerant, Christopher Dodge, and Guillaume

Boissiere are listed as the inventors on the face of the ’341 Patent. Defendant lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

14, and on that basis, denies them.

       15.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 15, and on that basis, denies them.

       16.      Defendant denies the allegations in Paragraph 16.

       17.      Defendant denies the allegations in Paragraph 17.

       18.      Defendant denies the allegations in Paragraph 18.

       19.      Defendant denies the allegations in Paragraph 19.

       20.      Defendant denies the allegations in Paragraph 20.

       21.      The provisional application speaks for itself. Defendant denies the remaining

allegations in Paragraph 21.

       B. The ’341 Patent Claims Are Directed to Improved Functionality of Streaming
          Server Systems Enabling Them to More Effectively Service a Large Number of
          Clients.

       22.      Defendant denies the allegations in Paragraph 22.

       23.      Defendant admits that Claim 1 of the ’341 Patent purports to be reproduced in

Paragraph 23.

       24.      Defendant denies the allegations in Paragraph 24.

       25.      Defendant denies the allegations in Paragraph 25.




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       26.     Defendant denies the allegations in Paragraph 26.

       27.     Defendant denies the allegations in Paragraph 27.

                       V.    INFRINGEMENT OF THE ’341 PATENT

       28.     Defendant denies that it has committed any acts of patent infringement and further

denies the allegations in Paragraph 28.

       29.     Defendant denies the allegations in Paragraph 29.

       30.     Defendant denies the allegations in Paragraph 30.

       31.     Defendant denies the allegations in Paragraph 31.

       32.     Defendant denies the allegations in Paragraph 32.

       33.     Defendant denies the allegations in Paragraph 33.

       34.     Defendant denies the allegations in Paragraph 34.

       35.     Defendant denies the allegations in Paragraph 35.

       36.     Defendant denies the allegations in Paragraph 36

       37.     Defendant denies the allegations in Paragraph 37

       38.     Defendant denies the allegations in Paragraph 38

       39.     Defendant denies the allegations in Paragraph 39.

       40.     Defendant denies that it has committed any acts of patent infringement and further

denies the allegations in Paragraph 40.

       41.     Defendant denies the allegations in Paragraph 41.

       42.     Defendant denies the allegations in Paragraph 42

       43.     Defendant denies the allegations in Paragraph 43.

       44.     Defendant denies that it has committed any acts of patent infringement and further

denies the allegations in Paragraph 44.




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       45.     To the extent a response is deemed to be required, Defendant denies that it has

committed any acts of patent infringement and further denies the allegations of Paragraph 45.

                                      VI.    JURY DEMAND

       46.     Plaintiff’s demand for a trial by jury does not require a response by Defendant.

              VII.     RESPONSE TO PLAINTIFF’S PRAYER FOR RELIEF

       47.     Defendant incorporates by reference all preceding paragraphs of this Answer as

if fully set forth herein. Defendant denies any and all allegations of patent infringement alleged

in the Second Amended Complaint. Defendant denies all allegations that Plaintiff is entitled to

any relief requested in the Second Amended Complaint’s Prayer for Relief, or any other relief.

Further, Defendant denies that it “continues to directly infringe the ’341 Patent” as asserted,

because the patent has expired.

                            VIII.     AFFIRMATIVE DEFENSES

       Pursuant to Federal Rule of Civil Procedure 8(c), and without altering any applicable

burdens of proof, Defendant asserts the following defenses to the Second Amended Complaint

and reserves its right to assert additional defenses.

                        A. First Affirmative Defense – Failure to State a Claim

       The Second Amended Complaint fails to state a claim upon which relief can be granted.

                          B. Second Affirmative Defense – Non-Infringement

       Defendant does not infringe and has not infringed, directly or indirectly, literally or under

the doctrine of equivalents, any claim of the ’341 Patent.




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                               C. Third Affirmative Defense – Invalidity

       Any asserted claims of the ’341 Patent is invalid for failure to satisfy the conditions of

patentability set forth in 35 U.S.C. §§ 101 et seq., including, but not limited to §§ 101, 102, 103,

and/or 112, or under other judicially-created bases for invalidation.

                                D. Fourth Defense – Equitable Defenses

       Plaintiff’s claims are barred, in whole or in part, by estoppel, acquiescence, prosecution

laches, waiver, unclean hands, and/or other equitable defenses.

       For example, in 2019, during prosecution of the ’341 Patent, the applicant filed a terminal

disclaimer in its application for the ’341 Patent over several other patents, including U.S. Patent

No. 8,464,302 (the “’302 Patent”) and U.S. Patent. No. 8,438,608 (the “’608 Patent”). The

applicant’s terminal disclaimer stated that the term of the ’341 Patent would not extend beyond

the terms of the ’302 and ’608 Patents. When the applicant filed its terminal disclaimer, the terms

of the ’302 and ’608 Patents had already ended. Specifically, the terms of the ’302 and ’608

Patents ended as of August 16, 2017, when the Federal Circuit affirmed a district court judgment

finding both patents invalid. VideoShare, LLC v. Google, Inc., 13-CV-990 (GMS), 2016 WL

4137524 (D. Del. Aug. 2, 2016), aff’d, 695 Fed. Appx. 577 (Fed. Cir. 2017). That finding

marked the end of the terms of both the ’302 and ’608 Patents, as well as the term of the ’341

Patent (which had not yet issued) due to the filing the terminal disclaimer. Therefore, Plaintiff’s

claims are barred due to at least the filing of the terminal disclaimer.

                               E. Fifth Defense – Limitation on Damages

       Plaintiff is barred or limited in recovery, in whole or in part, by failing to meet the

requirements of 35 U.S.C. §§ 286, 287, and/or 288.




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         F. Sixth Defense – Express License, Implied License, Patent Exhaustion and/or the
                                        Single Recovery Rule

         Plaintiff’s claims are barred, in whole or in part, by express license agreements and/or

under the doctrines of implied license, patent exhaustion, and/or the single recovery rule.

                                    G. Seventh Defense – Patent Misuse

         Plaintiff’s claims are barred, in whole or in part, by the doctrine of misuse.

                                   H. Eighth Defense – Lack of Standing

         Plaintiff lacks standing to assert the claims in the Complaint and its claims are thus

barred because it does not own the ’341 Patent and lacks the capacity to sue in this Court.

                            I. Ninth Defense – Prosecution History Estoppel

         Plaintiff is barred, under the doctrine of prosecution history estoppel, from construing the

claims of the ’341 Patent in such a way as to cover any accused products by reasons of

statements made to the United States Patent and Trademark Office during the prosecution of the

applications that led to the issuance of the ’341 Patent.

                J. Tenth Defense – Not an Exceptional Case Entitling Plaintiff to Relief

         If Plaintiff is entitled to any remedy, Plaintiff is not entitled to a finding that this case is

exceptional warranting attorneys’ fees under 35 U.S.C. § 285, or pursuant to the Court’s inherent

power.

                    K. Eleventh Defense – Patent Unenforceability (Unclean Hands)

         The claims of the ’341 Patent are unenforceable, in whole or in part, due to unclean

hands.

         All claims of the Patent-in-Suit are also unenforceable due to inequitable conduct. In

2013, Plaintiff asserted U.S. Patent Nos. 8,464,302 (the “’302 Patent”) and U.S. Patent No.

8,438,608 (the “’608 Patent”) against Defendants in VideoShare I. That case terminated when,



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on August 2, 2016, the district court issued an order finding that the ’302 Patent and the ’608

Patent are invalid under 35 U.S.C. § 101 for claiming patent-ineligible subject matter.

VideoShare, LLC v. Google, Inc., 2016 WL 4137524 (D. Del. Aug. 2, 2016) (“VideoShare I”).

The Federal Circuit affirmed that order in 2017. VideoShare, LLC v. Google Inc., 695 F. App’x

577 (Fed. Cir. 2017) (“VideoShare II”). The claims of the ’302 and ’608 Patents have thus each

been finally adjudicated as invalid.

       On January 23, 2019, after the claims of the ’302 and ’608 Patents were finally

adjudicated as invalid, VideoShare filed the patent application that would later issue as the ’341

Patent. The ’341 Patent is a continuation of the ’302 Patent, sharing an identical specification

except for the ’341 Patent’s more extensive listing of related patent applications. The patents

have the same title and identify the same three named inventors: Gad Liwerant, Christopher

Dodge, and Guillaume Boissiere.

       Applicant VideoShare and Applicant’s representatives had a duty to disclose material

information to the Patent Office during the prosecution of the ’341 Patent. Each individual

associated with the prosecution of a patent application has a duty of candor to the Patent Office.

See, e.g., 37 C.F.R. §1.56. Here, such individuals include at least VideoShare’s founder and

President Gad Liwerant (also a named inventor on the patent) and VideoShare’s prosecuting

attorney, Charlies F. Wieland III. None of these individuals fulfilled their obligations and

complied with the duty to disclose material information to the Patent Office. Specifically, these

individuals failed to disclose material information relating to the final rulings that the ’302 and

’608 Patents are invalid as not directed to patent eligible subject matter.

       Neither the district court order nor the Federal Circuit’s order determining the invalidity

of the ’302 Patent and the ’608 Patent (collectively, the “Invalidity Orders”) were disclosed




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during the prosecution of the ’341 Patent. On January 23, 2019, Applicant VideoShare, through

its attorney Mr. Wieland, filed a 37-page Information Disclosure Statement listing hundreds of

documents. See ’341 Patent File History, Information Disclosure Statement (submitted Jan. 23,

2019). The Information Disclosure Statement identified hundreds of documents that were

exchanged and at issue in VideoShare I, including several court orders, but the Invalidity Orders

were not included. The invalidity orders were known to Mr. Weiland available to him when he

submitted the IDS. Additionally, the Invalidity Orders were heavily litigated in the prior

Videoshare matters, in which Mr. Liwerant was an active participant.

       The Invalidity Orders were, and remain, material to the patentability of the ’341 Patent

because, but-for their omission from the information submitted to the Patent Office, the ’341

Patent would not have issued. On April 4, 2019, the examiner issued a rejection of all claims for

nonstatutory double patenting, finding that all claims (1–7) of the ’341 Patent were not

patentably distinct from claims 1–17 of the ’302 Patent and claims 1–23 of the ’608 Patent. ’341

Patent File History, Non-final Rejection (mailed April 4, 2019). VideoShare did not dispute the

examiner’s conclusions. On April 23, 2019, VideoShare, through its attorney Adam Banes (an

attorney at the same firm as Mr. Wieland), filed a terminal disclaimer in response to the double

patenting rejection, disclaiming the terminal part of the statutory term of the ’341 Patent that

would extend beyond the full statutory term of the ’302 Patent and ’608 Patent. ’341 Patent File

History, Amendment and Reply (submitted April 23, 2019). Shortly thereafter, on May 10, 2019,

the examiner allowed the claims to issue in view of the terminal disclaimer. ’341 Patent File

History, Notice of Allowance (mailed May 10, 2019).

       If the patent examiner had known that a district court had determined, and the Federal

Circuit had affirmed, that the ’608 and ’341 Patents were invalid, then the examiner would not




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have permitted the claims of the ’341 Patent to issue. Because the examiner had found the ’341

Patent claims to be patentably indistinct from those invalid claims, the examiner would have

found that the patentably indistinct claims are also invalid for the same reasons that were finally

adjudicated by the Court. Instead, the ’341 Patent issued on July 23, 2019. The Invalidity Orders

were not cumulative of the information already in the prosecution history of the ’341 Patent

because the file history did not otherwise disclose that the ’302 Patent and ’608 Patent were

judicially determined to be invalid at both the district court and the Federal Circuit. Indeed, this

information was omitted from the litigation material submitted by the applicant and the

prosecuting attorney.

       VideoShare and its attorneys knew of the Invalidity Orders and knew they were material.

Mr. Liwerant knew of the Invalidity Orders, as evidenced by his involvement in the VideoShare

litigations. For example, Mr. Liwerant was designated to testify on behalf of VideoShare as its

corporate representative in VideoShare I. VideoShare’s attorneys, including Mr. Wieland, were

also aware of the Invalidity Orders. Mr. Wieland was lead counsel for VideoShare in a covered

business method review of the ’302 Patent before the Patent Trial and Appeal Board, and

received, on multiple occasions, formal notice of the district court’s order that the ’302 Patent

and ’608 Patent were invalid. Specifically, the district court’s order finding those patents invalid

was attached as an exhibit to a CBM filing by Google, which was served on Mr. Wieland on

August 15, 2016. See CBM2016-00074, Paper 6, 7 & Ex. 1032. Moreover, the CBM petitions

were terminated, at Google’s request, on August 17, 2016, because of the court’s invalidity

determinations. See CBM2016-00074, Paper 8. As lead counsel for patent owner in the CBM,

Mr. Wieland was specifically served with the Google filing attaching the district court’s order

and termination decision. See CBM2016-00074, Paper 6, 7, 8. Additionally, Mr. Liwerant was




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aware of the CBM proceedings, at least because he signed the power of attorney document

authorizing Mr. Wieland to act on Videoshare’s behalf. See CBM2016-00074, Paper 4. The

VideoShare I matter appears on the same docket as multiple other litigation documents that

VideoShare disclosed in the January 23, 2019 Information Disclosure Statement.

       VideoShare submitted hundreds of litigation documents in the Information Disclosure

Statement, demonstrating that VideoShare’s representatives, including at least Mr. Wieland and

Mr. Liwerant, knew that material from the Videoshare litigations were material to patentability.

Additionally, on April 23, 2019, in response to the patent examiner’s April 4, 2019 non-final

Office Action, VideoShare filed an Amendment and Reply that stated:

       “Applicant wishes to thank Examiner Salterelli for the indication of allowable
       subject matter . . . As stated in the parent application, this continuation application
       was filed in part to avoid the basis of a finding of invalidity under 35 U.S.C. § 101
       of U.S. Patent No. 8,454,302 which issued from priority Application No.
       09/631,583 in VideoShare, LLC v. Google Inc. et al., 1:13-cv-00990-GMS, D.
       Del., June 4, 2013. Applicant acknowledges with appreciation the Examiner
       considering the court documents from the litigation and references cited therein
       that were submitted on January 23, 2019.”

       ’341 Patent File History, Amendment and Reply (submitted April 23, 2019). By making

this statement, VideoShare acknowledges that court documents from the VideoShare I litigation

should have been considered by the examiner, and thus, that they are material to patentability.

However, there is no evidence in the file history that this self-serving statement made by the

applicant is accurate. The examiner did not actually cite or apply any of the submitted references

from the VideoShare I litigation in his analysis. And even if the Examiner had, the submitted

material excluded the Invalidity Orders in any event.

       The single most reasonable inference to be drawn from the failure to disclose the

Invalidity Orders is that Applicant VideoShare and VideoShare’s representatives, including at

least Mr. Liwerant and Mr. Wieland, deliberately chose to withhold the Invalidity Orders from



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the mass of other litigation documents that they submitted in the prosecution of the ’341 Patent

with the specific intent to deceive the Patent Office to issue the ’341 Patent. Each of Messrs.

Liwerant and Wieland were active participants in prior matters where the Invalidity Orders and

related issues were at play. Each of Messrs. Liwerant and Wieland owed a duty of candor to the

Patent Office during the prosecution of the ’341 patent. This duty of candor required that they

disclose noncumulative information material to the patentability of the ’341 patent. Each of

Messrs. Liwerant and Wieland caused litigation material to be submitted to the Patent Office in

an information disclosure statement. This litigation material was specifically called to the

attention of the examiner during prosecution, including, for example, in the April 23, 2019,

Office Action Response. Each of Messrs. Liwerant and Wieland knew that the litigation material

submitted was not complete and did not include the Invalidity Orders. Each of Messrs. Liwerant

and Wieland failed to correct this omission by including or later submitting the Invalidity Orders.

Each of Messrs. Liwerant and Wieland knew that, on April 4, 2019, the examiner had

determined that the ’341 claims were not patentably distinct from the ’302 and ’608 claims. Each

of Messrs. Liwerant and Wieland knew that the ’302 and ’608 claims were finally determined to

be invalid. The single most reasonable inference to draw from these facts is that Applicant

VideoShare and VideoShare’s representatives made a deliberate decision to withhold this

information from the examiner, despite ample opportunity to include the information or

otherwise correct the record.

                           L. Twelfth Defense – Ensnarement of Prior Art

       Plaintiff’s claims for relief are barred under the ensnarement doctrine, which bars

Plaintiff from asserting an infringement theory that encompasses or ensnares the prior art.




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                           M. Thirteenth Defense – Dedication to the Public

       Plaintiff’s claims for relief are barred under the disclosure-dedication doctrine, because

Plaintiff has dedicated to the public all methods, systems, and products disclosed in the ’341

Patent but not literally claimed therein.

                               N. Fourteenth Defense – Issue Preclusion

       Plaintiff’s claims for relief are barred in whole or in part by the doctrine of issue

preclusion, or collateral estoppel, based on issues adjudicated in VideoShare, LLC v. Google,

Inc., 13-CV-990 (GMS), 2016 WL 4137524 (D. Del. Aug. 2, 2016), aff’d, 695 Fed. Appx. 577

(Fed. Cir. 2017).

                                O. Fifteenth Defense – Judicial Estoppel

       Plaintiff’s claims for relief are barred, in whole or in part, based on judicial estoppel. The

asserted claims of the ’341 Patent are invalid or unenforceable, and Defendant has not infringed

the asserted claims of the ’341 Patent at least because statements, representations, admissions,

elections, positions, concessions, and filings made by Plaintiffs in prior judicial and/or

administrative proceedings.      See e.g., ’341 Patent Prosecution History; VS0000001-222;

VideoShare, LLC v. Google, Inc., No. 6:19-cv-00663-ADA, Dkt. 74 (W.D. Tex. filed Feb. 8,

2021) (Google, Inc.’s Motion to Dismiss Based on Terminal Disclaimer); VideoShare, LLC v.

Google, Inc., No. 6:19-cv-00663-ADA, (W.D. Tex. filed Aug. 25, 2021) (Google, Inc.’s Motions

for Summary Judgment); see also VideoShare, LLC v. Google, Inc., 13-CV-990 (GMS), 2016

WL 4137524 (D. Del. Aug. 2, 2016), aff’d, 695 Fed. Appx. 577 (Fed. Cir. 2017).

                              IX.    RESERVATION OF RIGHTS

       Defendant hereby reserves the right to amend its Answer and reserves all defenses set out

in Rule 8(c) of the Federal Rules of Civil Procedure, the Patent Laws of the United States, and




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any other defenses, at law or in equity, which become applicable after the substantial completion

of discovery or otherwise in the course of litigation.

                                      X.    REQUEST FOR RELIEF

        WHEREFORE, Defendant respectfully requests that the Court enter judgment:

        A.        In favor of Defendant, and against Plaintiff, dismissing the Second Amended

Complaint with prejudice, with Plaintiff taking nothing by the way of its claims;

        B.        That Defendant has not infringed any valid claim of the ’341 Patent under any

subsection of 35 U.S.C. § 271;

        C.        That all asserted claims of the ’341 Patent are invalid and/or unenforceable;

        D.        That this case stands out from others and as such is an exceptional case pursuant

to 35 U.S.C. § 285 and ordering Plaintiff to pay Defendant’s reasonable attorneys’ fees incurred

in this action;

        E.        That Plaintiff pay all costs incurred by Defendant in this action; and

        F.        Awarding Defendant all other relief that the Court deems just and proper.

                                XI.        DEMAND FOR JURY TRIAL

        Defendant respectfully requests a trial by jury on all issues so triable.




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DATED: July 5, 2022             Respectfully submitted,

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                                Attorneys for Defendant Meta Platforms, Inc.




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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the above and foregoing document was served on

counsel for Plaintiff VideoShare, LLC via electronic delivery on July 5, 2022.

                                                      /s/ Paige Arnette Amstutz
                                                      Paige Arnette Amstutz




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